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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE

 9    HASSAN OSMAN,
10                         Plaintiff,
                                                              NO. C20-683RSL
11                  vs.
12    LOCAL ATU-587,                                          ORDER OF DISMISSAL FOR
                                                              FAILURE TO PERFECT SERVICE OF
13                         Defendant.                         SUMMONS AND COMPLAINT
14

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            This matter comes before the Court sua sponte. The complaint in this matter was filed on
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     May 6, 2020. To date, plaintiff has failed to perfect service of the summons and complaint upon
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     defendants or to make a timely request for extension of the service date, as required by Fed. R.
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     Civ. P. 4(m). The Court having given Plaintiff notice of this deficiency, hereby DISMISSES the
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     above-captioned complaint without prejudice.
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            IT IS NOW, THEREFORE, ORDERED that this matter be DISMISSED.
21
            DATED this 11th day of January, 2021.
22

23

24                                             A
                                               Robert S. Lasnik
25                                             United States District Judge
26

27
     ORDER OF DISMISSAL FOR FAILURE TO PERFECT SERVICE OF SUMMONS AND
28   COMPLAINT
